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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

YECHIEL BROMBERG, Individually and on
                                  §
Behalf of All Others Similarly Situated,
                                  §
                                  §                        Civil Action No. 4:18-cv-4284
                  Plaintiff,      §
                                  §
v.                                §
                                  §
ROWAN COMPANIES PLC, WILLIAM E.   §
ALBRECHT, THOMAS P. BURKE, THOMAS §
R. HIX, JACK B. MOORE, SUZANNE P. §
NIMOCKS, THIERRY PILENKO, JOHN J. §
QUICKE, TORE I. SANDVOLD, and     §
CHARLES L. SZEWS,                 §
                                  §
                  Defendants.     §


                                   NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff hereby voluntarily dismisses its individual claims with prejudice and the

claims of the putative class without prejudice/

       DATED: February 11, 2019.

                                              Respectfully submitted,



                                                     /s/ Thomas E. Bilek
                                              Thomas E. Bilek
                                              TX Bar No. 02313525 / SDTX Bar No. 9338
                                              THE BILEK LAW FIRM, L.L.P.
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                                              Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was filed via the District CM/ECF
system on February 11, 2019, which caused an electronic copy of same to be served
automatically upon all counsel of record.


                                                 /s/ Thomas E. Bilek
                                            Thomas E. Bilek




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